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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA

                                 ATLANTA DIVISION

 Yayu Musa                               )
                                         )

Plaintiff,                               )     CASE NO.: 1:22-cv-02538-SDG
                                         )
 vs.                                     )
                                         )
 Faith Pharmacy, Inc.                    )
                                         )

                 Defendant,              )


              JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

       Yayu Musa (“Plaintiff”) and Defendant Faith Pharmacy, Inc. (“Defendant”),

through undersigned counsel, hereby submit this Joint Preliminary Report and

Discovery Plan.

1. Description of Case:

       (a)      Describe briefly the nature of this action.

       This is a civil action for damages brought pursuant to the Fair Labor Standards

Act (“FLSA”). Defendant denies that it engaged in any conduct violative of the

FLSA and further denies that Plaintiff is entitled to the relief requested in her

Complaint.
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      (b)     Summarize, in the space provided below, the facts of this case. The
              summary should not be argumentative nor recite evidence.

      Plaintiff’s Statement:

      Plaintiff worked for Defendant as a non-exempt for approximately 9 years but

did not receive an overtime premium for her hours worked over 40 per week.

      Defendant’s Statement:

      Plaintiff was employed as a pharmacy technician. Plaintiff worked for Faith

Pharmacy for approximately nine years prior to resignation on August 24, 2021.

Plaintiff was employed full time and compensated at a rate of $25 per hour. Plaintiff

would sometimes forget to clock in and out and would handwrite timecards. Plaintiff

was compensated for all hours she worked.

      Plaintiff abandoned her job on September 3, 2021.

      (c)     The legal issues to be tried are as follows:

      1.      Whether Plaintiff can establish a claim for FLSA violation;

      2.      Whether any of Plaintiff’s claims are barred by Defendant’s asserted

              defenses;

      3.      Whether Plaintiff is entitled to damages, and if so, the amount of

              damages; and

      4.      Whether any party is entitled to recover attorneys’ fees and/or costs.

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(d)     The cases listed below (include both style and action number) are:

        (1)   Pending Related Cases:

None.

        (2)   Previously Adjudicated Related Cases:

None.

2.      This case is complex because it possesses one (1) or more of the
        features listed below (please check):

This case is not complex.

 _____ (1) Unusually large number of parties

 _____ (2) Unusually large number of claims or defenses

 _____ (3) Factual issues are exceptionally complex

 _____ (4) Greater than normal volume of evidence

 _____ (5) Extended discovery period is needed

 _____ (6) Problems locating or preserving evidence

 _____ (7) Pending parallel investigations or actions by government

 _____ (8) Multiple use of experts

 _____ (9) Need for discovery outside United States boundaries

 _____ (10) Existence of highly technical issues or proof




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3. Counsel:

      The following individually-named attorneys are hereby designated as lead

counsel for the parties:

      (a)   For the Plaintiff:

            Michael Jordan Lober
            Georgia Bar No. 455580
            Lober & Dobson, LLC
            1197 Canton Street
            Roswell, GA 30075
            Telephone: 770-741-0700
            mjlober@lddlawyers.com

            William Gregory Dobson
            Georgia Bar No. 237770
            A. Danielle McBride
            Georgia Bar No. 800824
            Lober & Dobson, LLC
            830 Mulberry Street, Suite 201
            Macon, GA 31201
            Telephone: (478) 745-7700
            wgd@lddlawyers.com
            admcbride@lddlawyers.com

      (b)   For the Defendant:

            SPIRE LAW, LLC
            2572 W. State Road 426, Suite2088
            Oviedo, Florida 32765
            Ian Smith, Esq.
            Georgia Bar No. 661492
            ian@spirelawfirm.com
            Whitney M. DuPree, Esq.

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              Georgia Bar No. 880908
              whitney@spirelawfirm.com

4. Jurisdiction:

      Is there any question regarding this court's jurisdiction?

                Yes       X      No

      If “yes,” please attach a statement, not to exceed one (1) page, explaining the

jurisdictional objection. When there are multiple claims, identify and discuss

separately the claim(s) on which the objection is based. Each objection should be

supported by authority.

5. Parties to This Action:

      (a)     The following persons are necessary parties who have not been
              joined:

      None.

      (b)     The following persons are improperly joined as parties:

      None.

      (c)     The names of the following parties are either inaccurately stated or
              necessary portions of their names are omitted:

      None




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      (d)   The parties shall have a continuing duty to inform the court of
            any contentions regarding unnamed parties necessary to this action
            or any contentions regarding misjoinder of parties or errors in the
            statement of a party's name.

6. Amendments to the Pleadings:

      Amended and supplemental pleadings must be filed in accordance with

the time limitations and other provisions of Fed. R. Civ. P. 15. Further

instructions regarding amendments are contained in Local Rule 15.

      (a)   List separately any amendments to the pleadings which the parties
            anticipate will be necessary:

      None other than possibly adding individual corporate representatives if

discovery warrants the same

      (b)   Amendments to the pleadings submitted LATER THAN THIRTY
            (30) DAYS after the Joint Preliminary Report and Discovery Plan is
            filed, or should have been filed, will not be accepted for filing, unless
            otherwise permitted by law.

7. Filing Times For Motions:

      All motions should be filed as soon as possible. The local rules set specific

filing limits for some motions. These times are restated below.

      All other motions must be filed WITHIN THIRTY (30) DAYS after the

beginning of discovery, unless the filing party has obtained prior permission of

the court to file later. Local Rule 7.1A(2).




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      (a)     Motions to Compel: before the close of discovery or within the

extension period allowed in some instances. Local Rule 37.1.

      (b)     Summary Judgment Motions: within thirty (30) days after the close of

discovery, unless otherwise permitted by court order. Local Rule 56.1.

      (c)     Other Limited Motions: Refer to Local Rules 7.2A; 7.2B, and 7.2E,

respectively, regarding filing limitations for motions pending on removal, emergency

motions, and motions for reconsideration.

      (d)     Motions Objecting to Expert Testimony: Daubert motions with regard

to expert testimony no later than the date that the proposed pretrial order is submitted.

Refer to Local Rule 7.2F.

8. Initial Disclosures:

      The parties are required to serve initial disclosures in accordance with

Fed. R. Civ. P. 26.         If any party objects that initial disclosures are not

appropriate, state the party and basis for the party’s objection:

      None.

9. Request for Scheduling Conference:

      Does any party request a scheduling conference with the Court? If so,

Please state the issues which could be addressed and the position of each

party.



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      None.

10. Discovery Period:

      The discovery period commences thirty (30) days after the appearance of the

first defendant by answer to the complaint. As stated in Local Rule 26.2A, responses

to initiated discovery must be completed before expiration of the assigned discovery

period.

      Cases in this court are assigned to one of the following three (3) discovery

tracks: (a) zero (0)-months discovery period, (b) four (4)-months discovery period,

and (c) eight (8)-months discovery period. A chart showing the assignment of cases

to a discovery track by filing category is contained in Appendix F. The track to

which a particular case is assigned is also stamped on the complaint and service

copies of the complaint at the time of filing.

      Please state below the subjects on which discovery may be needed:

      Plaintiff’s claims and Defendant’s defenses.

      If the parties anticipate that additional time beyond that allowed by the

assigned discovery track will be needed to complete discovery or tha t

discovery should be conducted in phases or be limited to or focused upon

particular issues, please state those reasons in detail below:




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11. Discovery Limitation:

      (a)       What changes should be made in the limitations on discovery
                imposed under the Federal Rules of Civil Procedure or Local Rules
                of this Court, and what other limitations should be imposed.

      None.

      (b)       Is any party seeking discovery of electronically stored information?

            X      Yes            No

      If “yes,”

      (1)       The parties have discussed the scope of the electronically stored
                information and have agreed to limit the scope of production (e.g.,
                accessibility, search terms, date limitations, or key witnesses) as
                follows:

      The parties have discussed the scope of discovery and have agreed to limit the

scope as follows: The parties agree that there is not extensive electronic information

relative to this case. The parties agree however to exchange discovery electronically

and will provide documents in pdf, and if necessary native format and/or searchable

PDFs. If the parties cannot reach agreement on e-discovery issues, they shall jointly

seek guidance from the Court.

      (2)       The parties have discussed the format for the production of

electronically stored information (TIFF or .TIF files), Portable Document Format

(PDF) or native, method of production (e.g., paper or disk), and the inclusion or

exclusion of the use of metadata, and have agreed as follows:


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        The parties have discussed the scope of discovery and have agreed to limit the

 scope as follows: The parties agree that there is not extensive electronic information

 relative to this case. The parties agree, however, to exchange discovery electronically

 and will provide documents in pdf, and if necessary native format and/or searchable

 PDFs. If the parties cannot reach agreement on e-discovery issues, they shall jointly

 seek guidance from the Court.

 12. Other Orders:

        What other orders do the parties think that the Court should enter under

 Rule 26(c) or under Rule 16(b) and (c)?

        The parties intend to seek a protective order of confidentiality.

 13. Settlement Potential:

        (a)      Counsel for the parties certify by their signatures below that they

 conducted a Rule 26(f) conference on November 16, 2022 and that they

 participated in settlement discussions. Other persons who participated in the

 settlement discussions are listed according to party.

For Plaintiff:        Counsel (signature)
                                              /s/Michael J. Lober

For Defendant:        Counsel (signature)
                                              /s/ Ian Smith




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       (b)    All parties were promptly informed of all offers of settlement and

       following discussion by all counsel, it appears that there is now:

(      ) A possibility of settlement before discovery.

( X ) A possibility of settlement after discovery.

(      ) A possibility of settlement, but a conference with the judge is needed.

(      ) No possibility of settlement.

       (c)    Counsel (____) do or (____) do not intend to hold additional

settlement conferences among themselves prior to the close of discovery.

       (d)    The following specific problems have created a hindrance to

settlement of this case.

       None at this time.

14. Trial by Magistrate Judge:

       Note: Trial before a Magistrate Judge will be by jury trial if a party is

otherwise entitled to a jury trial.

       (a)    The parties (____) do consent to having this case tried before a

magistrate judge of this court. A completed Consent to Jurisdiction by a United

States Magistrate Judge form has been submitted to the clerk of court this ____ day

of ______________________, 2022.




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       (b)    The parties (X) do not consent to having this case tried before a

 magistrate judge of this court.

       This 9th day of December, 2022.

s/Michael J. Lober                        By: /s/ Ian Smith
William Gregory Dobson                    Ian Smith, Esq.
Georgia Bar No. 237770                    Georgia Bar No. 661492
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Counsel for Plaintiff




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                            CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 9th day of December, 2022, I filed the foregoing

JOINT PRELIMINARY REPORT AND DISCOVERY PLAN with the Clerk of

the Court via the Court’s electronic filing system, which will provide electronic mail

notice to all counsel of record.

                                      /s/ Michael J. Lober
                                      Michael J. Lober




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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 Yayu Musa                            )
                                      )

Plaintiff,                            )     CASE NO.: 1:22-cv-02538-SDG
                                      )
 vs.                                  )
                                      )
 Faith Pharmacy, Inc.                 )
                                      )

              Defendant,              )


                            SCHEDULING ORDER

        Upon review of the information contained in the Joint Preliminary Report

and Discovery Plan form completed and filed by the parties, the court orders that

the time limits for adding parties, amending the pleadings, filing motions,

completing discovery, and discussing settlement are as set out in the Federal Rules

of Civil Procedure and the Local Rules of this Court, except as herein modified:

        IT IS SO ORDERED, this _____________ day of ____________________,

2022.


                                      Steven D. Grimberg
                                      UNITED STATES DISTRICT JUDGE
